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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

UNITED STATES OF AMERICA,

Plaintiff, Case No. 23-cr-20100
Hon. Matthew F. Leitman
Vv.

D1: CALVIN ZASTROW,

D2: CHESTER GALLAGHER,
D3: HEATHER IDONI,

D5: JOEL CURRY,

D6: JUSTIN PHILLIPS,

D7: EVA EDL, and

D8: EVA ZASTROW,

Defendants.

VERDICT FORM

As to Count One of the Indictment, which charges Conspiracy Against
Rights, we, the Jury unanimously find the defendant,

CALVIN ZASTROW: ___Not Guilty X Guilty
CHESTER GALLAGHER: __ Not Guilty X Guilty
HEATHER IDONI: ___Not Guilty _X Guilty
JOEL CURRY: __Not Guilty _X Guilty
JUSTIN PHILLIPS: ___Not Guilty _Y Guilty
EVA EDL: ___Not Guilty _X Guilty

EVA ZASTROW: ___Not Guilty XY Guilty
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As to Count Two of the Indictment, which charges Clinic Access
Obstruction, aiding and abetting (Northland Family Planning Clinic, Sterling
Heights, MI), we, the Jury unanimously find the defendant,

CALVIN ZASTROW: __Not Guilty X Guilty
CHESTER GALLAGHER: __Not Guilty X Guilty
HEATHER IDONI: ___Not Guilty X Guilty
JOEL CURRY: __Not Guilty _X Guilty
JUSTIN PHILLIPS: __Not Guilty X Guilty
EVA EDL: __Not Guilty _X Guilty
EVA ZASTROW: __Not Guilty X Guilty

As to Count Three of the Indictment, which charges Clinic Access
Obstruction, aiding and abetting (Women’s Health Clinic, Saginaw, MI), we, the
Jury unanimously find the defendant,

HEATHER IDONI: __ Not Guilty _X Guilty

EVA EDL: __Not Guilty X Guilty

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in compliance with the Privacy Policy adopted
by the Judicial Conference, the verdict form with
the original signature has been filed under seal.

& “2 O-RALAY

Date

